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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA

GAINESVILLE DIVISION
UNITED STATES OF AMERICA CASE NO.l:OSCRl7 MMP
vs.
MICHAEL MCLEOD

defendant.

ORDER SETTING TRIAL AND OTHER PRE-TRIAL MATTERS

A. TRIAL AND VOIR PROCEDURE

l. This case will be tried during the trial period commencing July 11, 2005 at 12:30 p.m. at the Federal
Courthouse, 401 S.E. lst Avenue, Gainesville, Florida, with Jury Selection to begin at 12:30 p.m. An Attomey
Conference is scheduled for 12:30 p.m. on that date.

2. Voir Dire examination of jurors will be conducted by the court. lf a party wishes to submit voir dire
questions for the court's consideration, the same must be in writing and filed with the Clerk of Court at least seven
(7) days prior to trial, with copy to opposing counsel. At the conclusion of the Court's voir dire examination,
reasonable opportunity will be given for counsel to ask questions they believe should properly be asked because of
answers given or other matters occurring during voir dire, not satisfactorily explained by the court's inquiry.

3. Jury selection will be accomplished in the manner specified to counsel prior to trial but will be
conducted in one of the following ways:

a. The entire panel will be examined after which the attorneys will be given the opportunity to exercise
their challenges; or

b. The jury box will be filled and those prospective jurors exarnined, following which challengers must
be exercised; those excused will be replaced and the new prospective jurors will be examined as before. This
process to be continued until trial jury and alternates are selected. Whichever procedure is followed, no back
striking will be permitted

4. Prior to jury selection, all parties are requested to determine whether they would be willing to stipulate
completing the trial with less than twelve (12) jurors, in the event jurors, after being sworn, _ _ » ~,
become disabled or otherwise excused by the Court. ; ' 4 f ' J

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B. DISCOVERY AND INSPECTION

l. Any request for disclosure of evidence, information or discovery under Federal Rule of
Criminal Procedure 16 by the defendant shall be made no later than five (5) working days following the
date of this Order with, in such even, the evidence, information or discovery so requested to be provided
to the defendant within (5) working days after receipt of the request. If the defendant requests disclosure under
Federal Rule of Criminal Procedure (lG(a)(l)(C) or (D), the government shall make request of the defendant under
Federal Rule of Criminal Procedure lG(b)(l)(A) and (B) within two (2) working days after receipt of defendant's
request, with the evidence, information or discovery so requested to be provided the government by the defendant
within five (5) workings days after receipt of request

2. Counsel for the parties, or the defendant if not represented by counsel, and counsel for the
government shall agree on the time, place and manner of the disclosure of such evidence, information and
discovery and of any inspection or photocopying required. The parties‘ attention is directed to
Federal Rule of Criminal Procedure 16(c), (d) and (e).

3. As used in this Order, working days include all days except Saturdays, Sundays, and federal
legal holidays

C. BRADY MATTERS

The United States Attomey shall disclose any evidence favorable to this defendant on the issues of
guilt or innocence without regard to materiality. The defendant or his attorney shall be provided such
evidence promptly after the United States Attomey acquires knowledge thereof See: Brady v. Maryland,
373 U.S. 83 (1963).

D. NOTICE OF ALIBI AND OF DEFENSE BASED UPON MENTAL CONDITION
The partiesl attention is directed to Federal Rules of Criminal Procedure lZ.l and 12.2.
E. MOTIONS BEFORE TRIAL

All pretrial motions permitted or required under the F ederal Rules of Criminal Procedures shall be
filed no later than ten (10) days after the date of this Order, unless a different time is prescribed by the
Federal Rules of Criminal Procedure, an Act of Congress, the Local Rules of this Court, or by the Court
at the time of arraignment Counsel's attention is particularly directed to Rule 6 and 7(F) of the Rules
of the United States District Court for the Northern District of Florida.

F. MOTIONS GENERALLY

All motions shall be accompanied by a written statement certifying the counsel for the moving party,
or the moving party if not represented by counsel, has conferred with opposing counsel or party, as the
case may be, in effort in good faith to resolve by agreement the subject matter of any motion, but has
not been able to do so. 'l`he written statement shall also specify the information that has been made
available to opposing counsel or parties in lieu of filing the motion. All motions which require evidentiary
support shall be accompanied by a signed statement of facts relied upon for the motion.

G. PLEA BARGAINING

The parties shall immediately advise the Court's secretary and the Clerk of the Court of any plea
bargain agreement and arrange for the rearraignment of the defendant in sufficient time prior to trial to
permit the excusing of witnesses and jurors and revision of the Court calendar should the negotiated plea
be accepted by the Court. Such rearraignrnent, unless the Court otherwise provides, shall be accomplished
no later than four (4) days prior to the trial date set in this order.

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H. CONTINUING NATURE OF ORDER

This Order, to the extent it applies to the matters referred to herein, is continuing in nature and
through trial.

DONE and ORDERED this [ z § day of May, 2005.

 
     

LLAN O UM
UNITED STATES MAGISTRATE JUDGE

Copies fumished:

United States Attomey
Attomey for the Defendant

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Wi||iam McCool, Clerk
401 Southeast First Avenue
Gainesvi||e, Florida 32601
(352) 380-2400

Counsel of Record

Re: Evidence/Exhibit Preparation for Trial

Dear Counsel:

Pursuant to pretrial requirements of the U.S. District Court for the Northern District of Florida, this
letter provides guidelines for the preparation and handling of trial exhibits

General information and minimum requirements

1. Counsel for each party in any case should, in advance of trial, mark each exhibit proposed to be
offered in evidence or otherwise tendered to any witness during trial. Exhibits will retain the same
number throughout court proceedings whether identified offered or admitted To avoid confusion, it
is preferred that like parties share exhibit numbers lf it is not practical for co-plaintiffs or co-
defendants to share exhibit numbers, like parties may identify exhibits by placing the party's name
prior to the exhibit number on all exhibit stickers and exhibit lists (for examp|e: Smith-t, Jones-1,
etc.).

2. The exhibits should be individually marked for identification with a secured sticker denoting the
appropriate party, the case number and the exhibit number (see Attachment 1). Exhibits should be
sequentially numbered in the order they are proposed to be offered Composite exhibits should
have identified sub-exhibits denoted by a letter following the exhibit number (example: Exhibit 1 is a
medical file; documents from the file are marked 1a, 1b...1z, 1aa, etc.).

3. Upon marking the exhibits, counsel should prepare a list of such exhibits, in sequence, with a
descriptive notation sufficient to identify each separate numbered exhibit and should furnish copies
of the list to opposing counsel and to the court at commencement of trial (see Attachment 2).
Counse| should inform the court of exhibits to Which admission has been stipulated

4. Upon identification the courtroom deputy clerk will retain custody of exhibits The courtroom deputy
cannot anticipate the need for exhibits by counsel during examination and cross- examination of
witnesses Counsei should be prepared to ask for exhibits by exhibit number or counsel may
request exhibits during breaks between witnesses Counsel may wish to have additional copies of
documentary exhibits on hand for use in examining witnesses All exhibits that are intended as part
of the record should be returned to the courtroom deputy clerk when examination of the witness is
completed

 

The mission of the Of/ice of the Clerk is to provide the highest quality support to the judges and chambers staff of the Non‘hem
District of Florida in their roles of administering justice to the citizens of this district

Tallahassee Division (850) 521-3501 ' Pensacola Division (850) 435-8440 ' Panama City Division (850) 769-4556

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5. The Eleventh Circuit Court of Appeals has established that documents of unusual bulk or weight
and physical exhibits other than documents shall not be transmitted by the Clerk of this Court with
the record on appeal (see FRAP 11 - 11th Circuit Rules). Oversized exhibits posters, and
nondocumentary exhibits may be used at trial for demonstrative purposes, but they will be returned
to counsel at the conclusion of trial. This includes sensitive exhibits in criminal trials |f the court of
appeals requests exhibits that are retained by counsel, it is the responsibility of counsel to make
arrangements for transportation and shipping of those exhibits to Atlanta.

Recommendations for marking

Some steps in exhibit preparation make the use of exhibits in trial flow faster and more efficiently The
following suggestions are not requirements of the court and may not be practical or economical in some
trials

Three-ring binders Counse| may find it usefu|, in situations where voluminous paper exhibits are to
be offered, to place the exhibits in three-ring binders with a numbered tab index.

Oversized exhibits and posters As previously mentioned, any oversized exhibits non-documentary
exhibits and posters will be returned to counsel at conclusion of trial. Counse| should consider filing file size
(8.5 x 11") copies of posters and photographs of nondocumentary exhibits if they wish those exhibits
considered in any appeal

Return of exhibits

The Clerk will return all oversized, sensitive and nondocumentary exhibits to counsel at the
conclusion of trial. The Clerk will retain and dispose of all other retained exhibits in accordance with Local
Rule 5.2 (see Attachment 1). P|ease note that it is the responsibility of counsel to retrieve exhibits from the
clerk upon the decision of this court or, in the event of an appeal, upon the decision of the appeals court.

lf you have any questions regarding trial exhibits please contact the courtroom deputy clerk for the
judicial officer assigned to your case.

Sincere|y,

W|LL|AM |V|CCOOL
CLERK OF COURT

B|air K. Patton
Courtroom Deputy Clerk

Eff. 10/30/2000
Attachment 1

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Local Rule 5.2 Exhibits - Disposition

(A) All exhibits offered or received in evidence during any proceeding in this court shall be delivered to
the clerk who shall keep them in custody unless otherwise ordered by the court, except:
(1) Sensitive exhibits such as, but not limited to, illegal drugs, explosives weapons, currency,
articles of high monetary value, exhibits of a pornographic nature, or the like, shall be retained
by the submitting law enforcement agency or party who shall then be responsible to the court
for maintaining custody and the integrity of such exhibits and

(2) The clerk may, without special order, permit an official court reporter to retain custody
pending preparation of the transcript

(B) All models, diagrams and exhibits remaining in the custody of the clerk shall be retrieved by the
parties within three (3) months after the case is finally decided, unless an appeal is taken. ln all cases
in which an appeal is taken, all exhibits shall be retrieved within thirty (30) days after the filing and
recording of the mandate of the appellate court finally disposing of the case.

(C) |f exhibits are not retrieved as required by this rule, the clerk may destroy them or make such
other disposition as may be authorized by the court,

 

 

 

Northern District of Florida - Local Rule 5.2

Standard exhibit labels examples

 

 

 

GOVERN|V|ENT PLA|NTlFF'S DEFENDANT'S
EXH|B|T EXH|B|T EXH|B|T
1 2 3 A
case number GCA 1199<;r1MP GCA 1:000r12 MMP

 

 

 

 

 

 

 

 

 

Government Gold Label Plaintiff Pink Label Defendant Blue Label

Attachmé`rase E)OHAB&EUEXMMITCEBJ Document 39 Filed 05/10/05 Page 7 of 7
UNlTED STATES DlSTRlCT COURT
FOR THE NORTHERN DlSTRlCT oF FLORlDA
GA|NESV|LLE DlVlSlON

JOHN Q_ DOE,
Plaintiff

v. GCA 1:99-cr-1-MMP

W|LL|AM Z. SM|TH and
THE CITY OF GOTHA|V|,

 

 

 

 

 

 

 

 

 

Defendants
/
Example Plaintiff's Tria| Exhibit List
Date
Pltf # Date lD'd Admitted Witness(es) Description
1 leave blank leave blank Paul Jones Letter to John Doe from Paul Jones
dated 3/1/95 re: salary review.
2a leave these two columns Dr. David Brown Audiotape of meeting on 5/1/95.
blank -
to be filled in during trial
2b " " Transcript of pltf exh 2a - audiotape
3 Sally Smith, Poster - l\/lap of USA (for
(Stipu|ated) Paul Jones demonstrative purposes only)
3a File size copy of map pltf exh 3
4 Poster - enlargement of photos 4a-g

for demo purposes

 

 

 

 

 

43_9 Photos - 4“ x 6" of:
a - automobile
b - tires
c - etc.
5 Brown Leather Briefcase
5a Photo of briefcase - pltf exh 5
6 Acme Co. Procedures manual
6a Enlarged excerpt of page 42 from pltf

exh 6

 

 

 

 

 

 

 

